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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA



IN THE MATTER OF THE SEARCHES
OF:

One Red iPhone, Exhibit N-2, seized from a Magistrate No: 22-41
Guillermo Iglesias on January 4, 2022,
currently in the custody of the Drug
Enforcement Administration (DEA) at the
Pittsburgh DEA District Office


IN THE MATTER OF THE SEARCHES
OF:
                                             Magistrate No: 22-42
One Rose Gold iPhone, Exhibit N-3, seized
from Angel Erick Perez Ramos on January 4,
2022, currently in the custody of the Drug
Enforcement Administration (DEA) at the
Pittsburgh DEA District Office

IN THE MATTER OF THE SEARCHES
OF:

One Silver iPhone, Exhibit N-4, seized from Magistrate No: 22-43
Angel Erick Perez Ramos on January 4, 2022,
currently in the custody of the Drug
Enforcement Administration (DEA) at the
Pittsburgh DEA District Office

IN THE MATTER OF THE SEARCHES
OF:

One SIM Card Bearing “SM128PSIMT5T0D Magistrate No: 22-44
8901 260 025 195 893 287”, Exhibit N-5,
seized from Angel Erick Perez Ramos on
January 4, 2022, currently in the custody of the
Drug Enforcement Administration (DEA) at
the Pittsburgh DEA District Office
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     AFFIDAVIT IN SUPPORT OF SEARCH WARRANTS FOR CELLULAR PHONE

I, Karl Ash, being duly sworn depose and state:

                     INTRODUCTION AND AGENT BACKGROUND

1.     I make this affidavit in support of an application for a search warrant authorizing the

       examination of property; three electronic devices and one SIM Card (the “Devices”) were

       seized on January 4, 2022. The devices are currently in the possession of the Drug

       Enforcement Administration.

2.     As set forth below, I have probable cause to believe that the recovered device contains

       evidence of crimes in violation of 21 U.S.C. §§ 841(a)(1) (unlawful distribution of

       controlled substances), and 846 (conspiracy to distribute a controlled substance).

3.     I am an “Investigative or Law Enforcement Officer of the United States” within the

       meaning of Title 18, United States Code, Section 2510(7); that is, an officer of the United

       States who is empowered by law to conduct investigations of and to make arrests for

       offenses enumerated in Title 18, United States Code, Section 2516.

4.     I am a Special Agent with the Drug Enforcement Administration (DEA), and have been so

       employed since December 2009. I am currently assigned to the DEA’s Pittsburgh District

       Office (“PDO”), within the Philadelphia Field Division. As a DEA Special Agent, I have

       received extensive training pertaining to narcotic investigations and the investigations into

       the unlawful distribution of illegal drugs, in violation of Title 21 of the United States Code.

       I have conducted or participated in, among other things, surveillance, undercover

       transactions, and execution of search and arrest warrants, debriefings of informants and

       confidential sources, and reviews of taped conversations relating to narcotics trafficking.
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     I have also assisted in the execution of numerous drug-related searches and arrest warrants.

     I know that distributing and possessing with intent to distribute controlled substances is a

     felony offense under Title 21 of the United States Code, as is conspiring to do so.

5.   Based on my training and experience, I am familiar with the methods of operation

     employed by drug trafficking organizations operating at the local, state, national, and

     international levels, including those involving the distribution, storage, and transportation

     of narcotics and the collection of money that constitutes the proceeds of narcotics

     trafficking activities. I am aware that drug traffickers commonly use cellular telephones

     in furtherance of their drug trafficking activities and will carry those devices with them

     where ever they go. I am also aware that drug traffickers often speak in vague, guarded,

     coded language or employ text messaging when discussing their illegal business in an effort

     to further prevent detection. I am familiar with the common appearance, packaging,

     texture, and smell of narcotics including cocaine, crack cocaine, oxycodone, heroin, and

     other illegal drugs.

6.   Further, based on my training and experience, I am aware that it is common practice for

     drug traffickers who desire to insulate themselves from detection by law enforcement, to

     routinely utilize multiple telephones, counter surveillance, false or fictitious identities, and

     coded communications in order to communicate with their customers, suppliers, couriers,

     and other conspirators. Moreover, it is not unusual for them to initiate or subscribe such

     phone services in fictitious names or under the name of an associate or family member in

     an effort to thwart detection by law enforcement. It is now a common practice for drug

     traffickers to utilize all communication features of their telephones, most notably the voice
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     call and text message features, nearly simultaneously, to communicate with their

     conspirators and customers. For example, it is quite common for a particular transaction

     to be set up and completed using both voice calls and text messages. In fact, it is now quite

     unusual for a drug trafficker to utilize solely one feature of a telephone, such as the voice

     call feature, to further his criminal activities while not also using another feature, such as

     the text message feature, to further his criminal activities.

7.   Further, your affiant is aware that drug traffickers sometimes use their cellular telephones

     and tablets to take and retain photographs and videos of their drugs, firearms, and narcotics

     sales proceeds. Such traffickers, like law-abiding citizens, sometimes take photographs

     and videos using their cellular telephones of themselves with their friends, relatives, and

     associates and keep the photographs on their cellular telephones. Such photographs and

     videos, when taken or retained by drug traffickers, can be evidence, and can lead to

     additional evidence of illegal trafficking activity by identifying the traffickers, contraband,

     and people who are actively assisting and/or supporting the trafficking activity as well as

     the locations where they live or where they store their drugs, proceeds, or paraphernalia.

8.   Your affiant is aware that evidence of drug and firearm crimes can often be found in

     electronic media, including cellular telephones, laptop computers, cameras, and tablet

     devices. Such evidence can be found throughout those items, such as in text messages,

     contact lists indicating the names and numbers of associates, call/text logs indicating

     calls/texts made to and received from associates, online search history files, word

     processing documents, photographs and video files. It should be noted that, with the

     advance of technology, the distinction between computers and cellular telephones is
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      quickly becoming less clear. Actions such as internet searching or emailing, in addition to

      calling, text messaging and photographing, can now be performed from many cell phones.

      In addition, as noted above, those involved in drug and firearm trafficking crimes

      commonly communicate using multiple cellular telephones. Contemporaneous possession

      of multiple cellular telephones is, therefore, evidence of such trafficking. Moreover, the

      specific numbers of, and the specific numbers dialed by, particular cellular telephones can

      be evidence of drug trafficking, particularly in light of the fact that it is a practical necessity

      that drug traffickers communicate with each other, as well as with their customers and

      suppliers, by telephone. Such numbers can confirm identities of particular associates and

      the occurrence of certain events.

9.    Due to narcotics traffickers’ heavy reliance on cellular telephones to conduct their business,

      evidence of drug crimes can often be found on cellular telephones. For example, when a

      lower-level narcotics dealer receives an order (either in person or by telephone) for heroin

      or cocaine, that dealer may place a call or send a text message to a higher-level narcotics

      dealer indicating that he needs more narcotics to provide to the customer. Accordingly,

      evidence of such a narcotics conspiracy can be found in various locations in a cellular

      telephone, such as in text messages, contact lists indicating the names and numbers of

      associates, and call logs indicating calls made to and received from associates. This

      evidence of a narcotics conspiracy is critical to law enforcement’s ability to locate and

      arrest all individuals involved in a particular narcotics sale.

10.   Last, as with most electronic/digital technology items, communications made from an

      electronic device, such as a cellular telephone, are often saved or stored on the device.
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      Storing this information can be intentional, for example, by saving a text message or a

      contact or an e-mail. Digital information can also be retained unintentionally. Traces of

      the path of an electronic communication or of an internet search may be automatically

      stored in many places on a cellular telephone. A forensic examiner often can recover

      evidence that shows when and in what manner a user of an electronic device, such as a

      computer or a cell phone, used such a device. Electronic files or remnants of such files can

      be recovered months or even years after they have been downloaded, stored, deleted, or

      viewed.

11.   I am submitting this affidavit in support of an application for a warrant to search three

      cellular telephones and one SIM Card, the devices were seized on January 4, 2022. I have

      obtained the information contained in this affidavit from my own participation in this

      investigation as well as from my conversations and interactions with other law enforcement

      agents and officers.

12.   This affidavit is intended to show only that there is sufficient probable cause for the

      requested warrant and it does not set forth all of my knowledge about this matter.

                IDENTIFICATION OF THE DEVICES TO BE EXAMINED

13.   The devices to be searched are:

               a. One red iPhone Cellular Telephone, DEA Exhibit N-2 (“Target Device 1”)

               b. One Rose Gold iPhone Cellular Telephone, DEA Exhibit N-3 (“Target Device

         2”)

               c. One Silver iPhone Cellular Telephone, DEA Exhibit N-4 (“Target Device 3”)
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             d. One Sim Card bearing numbers “SM128PSIMT5TT0D 8901 260 025 195 893

         287”, DEA Exhibit N-5 (“Target Device 4”)

      The devices are currently located at the Pittsburgh Drug Enforcement Administration

      District Office. As described below, there is probable cause to conclude that the device

      contains evidence of the commission of the federal offenses as listed in Attachment B.

14.   The applied-for warrant would authorize the forensic and/or manual examination of the

      device for the purpose of identifying electronically stored data particularly described in

      Attachment B.

                                    PROBABLE CAUSE

15.   I am currently participating in the investigation of Guillermo Iglesias and Angel Erick

      Perez Ramos. The statements contained in this Affidavit are based on my experience and

      background as a Special Agent with the DEA and the investigation of Iglesias and Perez

      Ramos. For the reasons set forth below, there is probable cause to believe that on or about

      January 4, 2022, Iglesias and Perez Ramos both possessed with intent to distribute a

      substance with a detectable amount of cocaine HCL, in violation of Title 21, United States

      Code, Sections 841(a)(1).

16.   On January 4, 2022, Pennsylvania State Police Trooper Bruce Waters conducted a traffic

      stop on a Honda Accord bearing Pennsylvania license plate LWC7046 for a summary

      traffic violation. During the traffic stop, Trooper Waters observed indicators of criminal

      activity, deceptive behaviors and tradecraft associated with narcotics trafficking. The

      driver of the vehicle was identified as Guillermo Iglesias and the passenger was identified

      as Angel Erick Perez Ramos. The vehicle is registered to Guillermo Iglesias at 2952
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      Hellerman Street, Philadelphia, PA. Trooper Waters asked for consent to search the

      vehicle, and Iglesias denied consent. Due to the immediate unavailability of a police K9,

      the vehicle was towed to the Pennsylvania State Police Barracks in Greensburg, PA to

      preserve any potential evidence in anticipation of obtaining a search warrant. Once at the

      Pennsylvania State Police Barracks, a police K9 was deployed and altered to the trunk area

      of the vehicle. On the same day, a search warrant for the vehicle was authorized by the

      Honorable Christopher A. Feliciani, Court of Common Pleas, Westmoreland County.

17.   On January 4, 2022, a search of the vehicle was conducted. During the search

      approximately one kilogram of suspected cocaine was found in two vacuum sealed bags

      in the spare tire compartment of the trunk. The vacuum sealed bags were contained

      inside a plastic shopping back next to the spare tire, underneath the carpeting of the trunk.

      Also, found in the vehicle were three cellular telephones. The suspected cocaine and

      cellular telephones were seized as evidence.

18.   That same day, DEA took custody of the evidence. A field test was conducted on the

      suspected cocaine and the result was presumptive positive for the presence of cocaine HCL.

      The cellular telephones were processed by DEA as Exhibits N-2, N-3 and N-4. When the

      case was removed from the silver iPhone (Exhibit N-4) to check the physical condition of

      the device, a loose SIM card was discovered along with a scrap of paper that contained a

      telephone number. The loose SIM card was processed by DEA as Exhibit N-5.

19.   Guillermo Iglesias is currently on federal supervised release.       He was convicted of

      Possession with Intent to Distribute Five Kilograms or more of Cocaine, a Schedule II

      controlled substance on December 13, 2016, under Federal Docket number 15:CR:83, in
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      the Eastern District of Pennsylvania. Iglesias was sentenced to 60 months imprisonment

      with 4 years of supervised release.

20.   I know, based on my training and experience, that narcotic traffickers often utilize multiple

      telephones and telephone numbers as a way to compartmentalize their narcotic trafficking

      activities and attempt to evade law enforcement. Narcotic traffickers will often utilize

      multiple different cellular telephones, utilize multiple SIM cards in one cellular telephone,

      or a combination of multiple cellular telephones and multiple SIM cards to accomplish this.

21.   Based on the facts and circumstances explained herein, and my training and experience, it

      is my belief that the Devices will yield evidence of narcotic trafficking activities.

                                        CONCLUSION

22.   I submit that this affidavit supports probable cause for a search warrant authorizing the

      examination of the device described above to seek the items described in Attachment A.

                                                          Respectfully submitted,
                                                          /s/ Karl Ash
                                                          Karl Ash
                                                          Special Agent - DEA
                                                          Pittsburgh District Office



      Sworn and subscribed to me
      by telephone pursuant to Federal R.
      Crim. P. 4.1(b)(2)(A), this 10th day of January 2022

      _________________________________________
      HONORABLE MAUREEN P. KELLY
      UNITED STATES MAGISTRATE JUDGE
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                                    ATTACHMENT A

                                      Target Device #1

 The property to be searched is: One red iPhone Cellular Telephone, Exhibit N-2, seized from

   Guillermo Iglesias on January 4, 2022, currently in the custody of the Drug Enforcement

                 Administration (DEA) at the Pittsburgh DEA District Office

                                      Target Device #2

 The property to be searched is: One rose gold iPhone Cellular Telephone, Exhibit N-3, seized

   from Angel Erick Perez Ramos on January 4, 2022, currently in the custody of the Drug

          Enforcement Administration (DEA) at the Pittsburgh DEA District Office

                                      Target Device #3

The property to be searched is: One silver iPhone Cellular Telephone, Exhibit N-4, seized from

Angel Erick Perez Ramos on January 4, 2022, currently in the custody of the Drug Enforcement

                 Administration (DEA) at the Pittsburgh DEA District Office

                                      Target Device #4

The property to be searched is: One SIM card bearing numbers “SM128PSIMT5T0D 8901 260

  025 195 893 287”, Exhibit N-5, seized from Angel Erick Perez Ramos on January 4, 2022,

currently in the custody of the Drug Enforcement Administration (DEA) at the Pittsburgh DEA

                                       District Office
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                                         ATTACHMENT B

       1.         All records, information, and items evidencing who used the device and/or when

and/or from where, or a violation Title 21, United States Code, Sections 841(a)(i) and 846,

including:

             a.      incoming and outgoing call and text message logs
             b.      contact lists
             c.      photo and video galleries
             d.      sent and received text messages
             e.      online searches and sites viewed via the internet
             f.      online or electronic communications sent and received, including email, chat,
                     instant messages and social media accounts
             g.      sent and received audio files
             h.      navigation, mapping, and GPS files
             i.      telephone settings, including speed dial numbers and the telephone number for
                     the subject telephone and related identifying information such as the ESN for
                     the telephone
             j.      call forwarding information
             k.      messages drafted but not sent
             l.      voice messages


       2.         As used above, the terms “records” and “information” include all of the foregoing

items of evidence in whatever form and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form. However, no real-time communications will be

intercepted and searched during service.
